         Case 2:13-cr-00448-KJD-CWH              Document 49        Filed 07/14/14       Page 1 of 3




                                   UNITED STATES DISTRICT COURT
 1
 2                                        DISTRICT OF NEVADA

 3                                                    )
                                                      )
 4                                                    )
     UNITED STATES OF AMERICA,                        ) CASE NO: 2:13-CR-00448-KJD-CWH
 5                                                    )
                     Plaintiff,                       )
 6                                                    )
               vs.                                    ) FINDINGS OF FACT, CONCLUSIONS
 7   CARLOS LEON CABRALES, CARLOS                     ) OF LAW AND ORDER
     JIMENEZ-MARTINEZ, JOSE LUIS                      )
 8                                                    )
     BARRAGAN                                         )
 9             Defendants.                            )
                                                      )
10                                                    )
11
12                                         FINDINGS OF FACT

13          Based on the pending Stipulation of counsel, and good cause appearing therefore, the
14   Court finds that:
15
            1.    That defense counsel have spoken to their respective clients, JOSE LUIS
16
     BARRAGAN, CARLOS LEON CABRALES, AND CARLOS JIMENEZ-MARTINEZ, who are
17
18   currently in custody on this matter, and they have no objections to the continuance.

19          2.    That defense counsel has spoken to Assistant United States Attorney, Amber Craig,
20   and the Government has no objection to the continuance.
21
            3.    That defense counsel has received a voluminous amount of discovery in this matter.
22
            4.    That defense counsel requires additional time to investigate the Government’s
23
24   allegations and the Defendants’ purported participation in the charged conspiracy. Accordingly,

25   defense counsel also requires additional time to identify and litigate pretrial issues.
26
            5.    That defense counsel and the Government are currently negotiating a disposition
27
     agreement that, if acceptable to both parties, would render a jury trial unnecessary as to
28
     defendant JOSE LUIS BARRAGAN.

                                                       4
           Case 2:13-cr-00448-KJD-CWH              Document 49       Filed 07/14/14      Page 2 of 3




                6.   The additional time requested herein is not sought for purposes of delay, but to
 1
 2   allow counsel for defendants sufficient time within which to confer with the defendant regarding

 3   the proposed disposition agreement and to be able to effectively and thoroughly research, prepare
 4
     and submit for filing appropriate pretrial motions.
 5
                7.   Additionally, denial of this request for continuance could result in a miscarriage of
 6
 7   justice.

 8              8.   The additional time requested by this Stipulation is excludable in computing the
 9   time within which the trial herein must commence pursuant to the Speedy Trial Act, Title 18,
10
     United States Code, Section 3161(h)(1)(D) and Title 18, United States Code, Section
11
     3161(h)(7)(A), considering the factors under Title 18, United States Code.
12
13                                         CONCLUSION OF LAW

14              The ends of justice served by granting said continuance outweigh the interests of the
15   public and the defense in a speedy trial, since the failure to grant said continuance would be
16
     likely to result in a miscarriage of justice, would deny the parties herein sufficient time and the
17
     opportunity within which to be able to effectively and thoroughly prepare for trial, taking into
18
19   account the exercise of due diligence.

20              The continuance sought herein is excludable under the Speedy Trial Act, Title 18, United
21
     States Code, Section 3161(h)(1)(D)(4), 3161(h)(7)(A) when the considering facts under Title 18,
22
     United States Code, §§ 3161(h)(7)(B) and 3161 (h)(7)(B)(iv).
23
24   ///

25   ///
26   ///
27
     ///
28
     ///

                                                        5
         Case 2:13-cr-00448-KJD-CWH            Document 49        Filed 07/14/14     Page 3 of 3




                                                 ORDER
 1
 2          IT IS THEREFORE ORDERED that trial briefs, proposed voir dire questions, proposed

 3   jury instructions, and a list of the Government’s prospective witnesses must be submitted to the
 4
     Court by the 24th
                  ____ day of ___________________,
                               September           2014, by the hour of _______.
                                                                         9:00 a.m.
 5
            IT IS FURTHER ORDERED that the calendar call currently scheduled for July 21, 2014,
 6
 7   at the hour of 9:00 a.m. be vacated and continued to the _____
                                                               23rd day of _______________
                                                                           September       , 2014,

 8   at the hour of __________.
                     9:00 a.m.

 9          IT IS FURTHER ORDERED that the jury trial currently scheduled for July 28, 2014, at
10
     the hour of 9:00 a.m. be vacated and continued to the ____
                                                           29th day of ________________,
                                                                        September        2014, at
11
     the hour of __________.
                  9:00 a.m.
12
13          DATED AND DONE this _____
                                 14th day of __________,
                                              July       2014.

14
15                                                            ________________________________
16                                                            UNITED STATES DISTRICT JUDGE

17
18
19
20
21
22
23
24
25
26
27
28


                                                     6
